Case 2:17-cv-11627-GCS-APP ECF No. 36 filed 09/04/18        PageID.340    Page 1 of 5



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MICHAEL KITCHEN,
                                               Case No. 2:17-cv-11627
                   Plaintiff,                  Judge George Caram Steeh
v.                                             Magistrate Judge Anthony P. Patti

O’BELL T. WINN, WILLIAM FOY,
NANNIE CULBERSON, THOMAS HAYNES,
KETURAH MORRIS, MARK CHALKER,
BRADLEY ODETTE, BOBBY KARL,
TONY GLYNN, BRIAN TROMBLEY, and
UNKNOWN SUPERVISORS OR GUARDS,

               Defendants.
__________________________/

     ORDER GRANTING AS UNOPPOSED PLAINTIFF’S JULY 12, 2018
    MOTION TO COMPEL DISCOVERY AND TO ENFORCE A SUBPOENA
                           (DE 35)

       A.    Background

       Michael Kitchen (#189265) is currently incarcerated at the Michigan

Department of Corrections (MDOC) Carson City Correctional Facility (DRF).

(DE 29.) On May 19, 2017, while incarcerated at the Earnest C. Brooks

Correctional Facility (LRF), Kitchen filed the instant lawsuit in pro per against ten

(10) named defendants, each of whom is described as located at the Saginaw

Correctional Facility (SRF). (DE 1 ¶¶ 5-7.) In addition, he lists as Defendants

“Unknown Supervisors or Guards.” (DE 1 ¶ 8.) Plaintiff’s causes of action are


                                          1 
 
Case 2:17-cv-11627-GCS-APP ECF No. 36 filed 09/04/18            PageID.341    Page 2 of 5



“retaliation,” “retaliation, cruel & unusual punishment, & substantive due process .

. . ,” and “intentional infliction of emotional distress . . . .” (DE 1 at 15-18.)

      Each of the 10 named defendants is represented by Michigan’s Attorney

General. (DE 11; see also DEs 13-22.) Judge Steeh has referred this case to me

for all pretrial proceedings. (DE 7.)

      B.     Prior Motion Practice

      On August 2, 2017, Plaintiff served various Defendants with a first set of

interrogatories, a first set of admissions, and a first request for the production of

documents. (DE 26 at 15-23, 25; DE 35 at 5-13, 15.) On August 7, 2017, Plaintiff

served Defendant O’Bell and/or SRF with a subpoena. (DE 26 at 28-35, DE 35 at

16-18.) Defense counsel responded with a letter dated September 6, 2017. (DE 26

at 27, DE 35 at 19.)

      On the same date, defendants filed both a motion for summary judgment and

a motion for protective order. (DEs 25, 26.) On April 20, 2018, I entered a report,

which recommended that the Court deny Defendants’ motion for summary

judgment to the extent it sought dismissal on the basis of failure to exhaust but

grant the motion to the extent it sought dismissal of Plaintiff's claims for money

damages against defendants in their official capacities. (DE 31 at 18.) At the same

time, I entered an order granting Defendants’ motion for a protective order. (DE

32.) My order specifically noted that “[t]he stay of discovery w[ould]


                                            2 
 
Case 2:17-cv-11627-GCS-APP ECF No. 36 filed 09/04/18        PageID.342     Page 3 of 5



automatically lift once the Court issues its ruling.” (DE 32 at 2.) On May 22,

2018, the Court accepted my report and recommendation and granted in part and

denied in part Defendants’ motion for summary judgment. (DE 31, DE 33.)

Specifically, the Court dismissed Plaintiff’s claims for money damages against

defendants in their official capacities. (DE 33 at 2.)

      C.     Instant Matter

      On July 6, 2018, approximately 45 days after the stay of discovery was

automatically lifted, the Court entered an order for substitution of defense counsel.

(DE 34.) Currently before the Court is Plaintiff’s July 12, 2018 motion to compel

discovery and to enforce a subpoena, which was filed 6 days after current counsel

was substituted into this case. (DE 35.)

      “A respondent opposing a motion must file a response, including a brief and

supporting documents then available.” E.D. Mich. LR 7.1(c)(1). “A response to a

nondispositive motion must be filed within 14 days after service of the motion.”

E.D. Mich. LR 7.1(e)(2)(B). Thus, Defendants’ response to Plaintiff’s July 12,

2018 motion to compel was due on or about June 29, 2018. See Fed. R. Civ. P.

6(d). To date, Defendants have not filed a response to the instant motion.

      D.     Order

      Accordingly, Plaintiff’s July 12, 2018 motion to compel discovery and to

enforce a subpoena is GRANTED as unopposed. No later than Tuesday,


                                           3 
 
Case 2:17-cv-11627-GCS-APP ECF No. 36 filed 09/04/18             PageID.343     Page 4 of 5



September 18, 2018, Defendants SHALL serve Plaintiff with responses to

Plaintiff’s first set of interrogatories, first set of admissions, and first request for

the production of documents, and Defendant O’Bell (and/or SRF) SHALL produce

documents in accordance with the aforementioned subpoena. Given the amount of

time these discovery requests and this motion have been pending, Defendants’

apparent failure to respond to the requests once the stay was automatically lifted on

May 22, 2018, and Defendants’ failure to respond to the instant motion, any

objections that were not served in response to these requests within the applicable

deadlines established under Fed. R. Civ. P. 33, 34, 36, and 45 are deemed waived.

In sum, approximately 51 days passed between the automatic lift of the stay of

discovery and Plaintiff’s filing of the instant motion; therefore, Defendants and/or

the MDOC shall not now respond with objections to the discovery requests and/or

the subpoena. Moreover, while the Court is permitting an extension of the time

within which to respond to the requests for admission, see Fed. R. Civ. P. 36(a)(3),

such responses must strictly comply with Fed. R. Civ. P. 36(a)(4). A failure to do

so within the deadline provided in this Order will result in the requests being

deemed admitted pursuant to Fed. R. Civ. P. 36(a)(3).

Dated: September 4, 2018                  s/Anthony P. Patti
                                          Anthony P. Patti
                                          UNITED STATES MAGISTRATE JUDGE




                                             4 
 
Case 2:17-cv-11627-GCS-APP ECF No. 36 filed 09/04/18        PageID.344   Page 5 of 5




                              Certificate of Service

I hereby certify that a copy of the foregoing document was sent to parties of record
on September 4, 2018, electronically and/or by U.S. Mail.

                                       s/Michael Williams
                                       Case Manager for the
                                       Honorable Anthony P. Patti
 




                                         5 
 
